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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,                            )
SMARTMATIC HOLDING B.V., AND                     )
SGO CORPORATION LIMITED,                         )
                                                 )
                  Plaintiffs,                    )
                                                      Civil Action No. 1:21-cv-02900-CJN
       v.                                        )
                                                 )
HERRING NETWORKS, INC., D/B/A                    )
ONE AMERICA NEWS NETWORK,                        )
                                                 )
                  Defendant.                     )

                  DEFENDANT’S OPPOSED MOTION FOR RECUSAL

       Pursuant to 28 U.S.C. § 455, Defendant Herring Networks, Inc., d/b/a One America News

Network (“OAN”) files this Opposed Motion for Recusal, and respectfully moves that Magistrate

Judge Upadhyaya, assigned for resolution of certain discovery disputes, be recused. In support of

this Motion, OAN respectfully refers this Court to the Memorandum and Points and Authorities

submitted herewith. A proposed order is attached.

Dated: July 6, 2023                         By: /s/ Charles L. Babcock

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                              CERTIFICATE OF CONFERENCE
        I hereby certify that on the 5th and 6th days of July 2023, I conferred with counsel for

Plaintiffs, Caitlin Kovacs, by email and she stated that Plaintiffs are opposed to the foregoing motion

for recusal.

                                               /s/ John K. Edwards
                                               John K. Edwards



                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 6th day of July 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.

                                               /s/ Charles L. Babcock
                                               Charles L. Babcock




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